    Case 18-09130                 Doc 338-3 Filed 01/09/19 Entered 01/09/19 13:43:36                                               Desc
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